         Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 1 of 55



                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                               §
                                                     §
MICRODERMIS CORPORATION                              §                      Case No. 18-35179
                                                     §                      Chapter 7
                          DEBTORS.                   §
                                                     §


 GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES REGARDING
 THE DEBTOR’S SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS
                      OF FINANCIAL AFFAIRS

        These Global Notes, Methodology, and Specific Disclosures Regarding the Debtor’s Schedules of Assets
and Liabilities and Statements of Financial Affairs (the “Global Notes ”) pertain to, are incorporated by
reference in, and comprise an integral part of the Debtor’s Schedules and Statements. The Global
Notes should be referred to, considered, and reviewed in conjunction with any review of the
Schedules and Statements.

        The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP ”), nor are
they intended to be fully reconciled with the financial statements of the Debtor. Additionally, the
Schedules and Statements contain unaudited information that is subject to further review,
potential adjustment, and reflect the Debtor’s commercially reasonable efforts to report the assets
and liabilities of the Debtor on an unconsolidated basis.

        The Debtor and its agents and attorneys do not guarantee or warrant the accuracy or
completeness of the data that is provided herein and shall not be liable for any loss or injury arising
out of or caused in whole or in part by the acts, errors, or omissions, whether negligent or otherwise,
in procuring, compiling, collecting, interpreting, reporting, communicating or delivering the
information contained herein. While commercially reasonable efforts have been made to provide
accurate and complete information herein, inadvertent errors or omissions may exist. The Debtor
and its agents and attorneys expressly do not undertake any obligation to update, modify, revise, or
re-categorize the information provided herein, or to notify any third party should the information be
updated, modified, revised, or re-categorized. In no event shall the Debtor or its agents and
attorneys liable to any third party for any direct, indirect, incidental, consequential, or special
damages (including, but not limited to, damages arising from the disallowance of a potential claim
against the Debtor or damages to business reputation, lost business or lost profits), whether
foreseeable or not and however caused, even if the Debtor or its agents and attorneys are advised of
the possibility of such damages.

Causes of Action. Despite its commercially reasonable efforts to identify all known assets, the
Debtor may not have listed all of its causes of action or potential causes of action against third-
parties as assets in the Schedules and Statements, including, without limitation, causes of actions
                                                      1
         Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 2 of 55



arising under the provisions of chapter 5 of the Bankruptcy Code and any other relevant non-
bankruptcy laws to recover assets or avoid transfers. The Debtor reserves all of its rights with
respect to any cause of action (including avoidance actions), controversy, right of setoff, cross claim,
counterclaim, or recoupment and any claim on contracts or for breaches of duties imposed by law or
in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage,
judgment, account, defense, power, privilege, license, and franchise of any kind or character
whatsoever, known, unknown, fixed or contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable
directly or derivatively, whether arising before, on, or after the Petition Date, in contract or in tort,
in law or in equity, or pursuant to any other theory of law (collectively, “Causes of Action ”) it may
have, and neither these Global Notes nor the Schedules and Statements shall be deemed a waiver of
any claims or Causes of Action or in any way prejudice or impair the assertion of such claims or
Causes of Action.

Summary of Significant Reporting Policies. The following is a summary of significant reporting
policies:

•       Undetermined Amounts. The description of an amount as “unknown,” “TBD” or
        “undetermined” is not intended to reflect upon the materiality of such amount.

•       Totals. All totals that are included in the Schedules and Statements represent totals of all
        known amounts. To the extent there are unknown or undetermined amounts, the actual total
        may be different than the listed total.

                  Specific Disclosures with Respect to the Debtors’ Schedules

Schedules Summary. Except as otherwise noted, the asset information provided in the Schedules
represents the Debtor’s data regarding its assets as of September 14, 2018 (the “Petition Date ”),
and the liability information provided herein represents the Debtor’s data regarding its liabilities as
of the close of business on the Petition Date.

Schedule 207
Part 10
20. Mac Sweeney, former CEO, has assumed personal responsibility of storage unit at Security
Storage and Van Company, as of September 17, 2018.

Part 13
26b.1 Deloitte 2014 - 2015 audit was started and 85% complete, no financial statements issued due
to lack of payment.

29. Dr. Kenneth Kaylor was an interim Director from January 30, 2018 to July 25, 2018. Dr. Kaylor
was not officially voted in by Shareholders. Henry (Beau) Rogers III was an interim Director from
January 30, 2018 to July 25, 2018. Mr. Rogers was not officially voted in by Shareholders.

Schedule 206ab
Part 2
7.1 Regus Management Group -Virtual Office and mail forwarding service. Retainer amount $266.40

                                                     2
         Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 3 of 55




Part 5
19. Raw materials consists of materials needed to manufacture Provodine. The raw materials expired
and cannot be used.

21. Finished Goods – Including 4 oz bottles and packets of Provodine which have expired. The
Provodine has been disposed of since the Debtor could not pay warehouse fees.

Part 8
50. Warehouse systems / tooling dyes / old lab equipment specific to the Debtor’s manufacturing
plans and not usable to others.

Part 10
64. The Estate of Peter Lentini has control over research notes that were kept at the laboratory
space in Pearl River, NY.

Schedule 206ef
All Unsecured Claims including, Account Payable, Actual Salaries/Wages, Notes/Loans,
Notes/Loans Interest, and Legal Judgement calculations were completed as of January 19, 2018.

All Secured Claims including, bridge loans (secured) and related interest, A2 Note and related
interest, line of credit with Dr. Hosler and related interest, and promissory note with Dr. Hosler and
related interest calculations were completed as of September 14, 2018.

Schedule 206g
2.2 Mac Sweeney, former CEO, has assumed personal responsibility of storage unit at Security
Storage and Van Company, as of September 17, 2018.




                                                    3
                         Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 4 of 55
  Fill in this information to identify the case:

                   Microdermis Corporation
  Debtor name __________________________________________________________________


                                             Southern                        Texas
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
  Case number (If known):     18-35179
                              _________________________                                                                                 Check if this is an
                                                                                                                                           amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                    12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
   x
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                       $0
                                                                                                                                  $____________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
           Green Bank                                            Checking
   3.1. _________________________________________________ ______________________                    0   2     5
                                                                                                ____ ____ ____ ____ 9             $    28.89_____________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1
                                                                                                                                     28.89
                                                                                                                                  $__________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
   x
         Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
           Regus Managment Group
   7.1. ________________________________________________________________________________________________________                      $ 266.40________
   7.2._________________________________________________________________________________________________________                   $_______________________



  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                      page 1
                    Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 5 of 55
Debtor           Microdermis Corporation
               _______________________________________________________              18-35179
                                                            Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
    x No. Go to Part 4.
    
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    x No. Go to Part 5.
    
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
                     Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 6 of 55
Debtor            Microdermis Corporation
                _______________________________________________________              18-35179
                                                             Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    x No. Go to Part 6.
    
     Yes. Fill in the information below.
     General description                            Date of the last      Net book value of    Valuation method used     Current value of
                                                    physical inventory    debtor's interest    for current value         debtor’s interest
                                                                          (Where available)
19. Raw materials
                                     6/2016
   Held at Accupak, Inc. (Lakewood) ______________                            0.00                                          0.00
   ________________________________________                              $__________________   current market value      $______________________
   .
                                    MM / DD / YYYY

20. Work in progress
   ________________________________________         ______________
                                                    MM / DD / YYYY       $__________________

21. Finished goods, including goods held for resale
    Held at Archway (Indiana)                         6/2016
                                                    ______________            0.00                                           0.00
   ________________________________________
                                                    MM / DD / YYYY
                                                                               _____
                                                                          $_____________        current market value         _____
                                                                                                                          $_________________

22. Other inventory or supplies
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                     $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
    x
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
    x
         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    x     No
    
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    x No. Go to Part 7.
    
     Yes. Fill in the information below.
      General description                                                 Net book value of    Valuation method used     Current value of debtor’s
                                                                          debtor's interest    for current value         interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________    ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________    ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________          $________________    ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________    ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________    ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                          page 3
                    Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 7 of 55
Debtor          Microdermis Corporation
               _______________________________________________________               18-35179
                                                            Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
    x Yes. Fill in the information below.
    

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
      Various
   ______________________________________________________________                     3,465.00
                                                                               $________________      Simple Est.
                                                                                                   ____________________            0.00
                                                                                                                            $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   VOIP         phones         and       laptop                                   2,241.00
                                                                               $________________     Simple Est.
                                                                                                   ____________________         0.00
                                                                                                                            $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                               0.00
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
    x Yes
    
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
    x No
    
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
                     Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 8 of 55
 Debtor
                  Microdermis Corporation
                _______________________________________________________              18-35179
                                                             Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
    x Yes. Fill in the information below.
    

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   Warehouse     systems / tooling dyes / old lab equipment$________________
   ______________________________________________________________ 26,985                          Simple Est.
                                                                                                ____________________         0.00
                                                                                                                        $______________________
      .
51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
    x
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    x
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
                     Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 9 of 55
                 Microdermis Corporation
Debtor          _______________________________________________________
                Name
                                                                                     18-35179
                                                             Case number (if known)_____________________________________




Part 9:    Real property

54. Does the debtor own or lease any real property?
    x No. Go to Part 10.
    
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.

    55.1________________________________________            _________________     $_______________     ____________________     $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
    x Yes. Fill in the information below.
    
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    See attachment Microdermis Corporation Patents
    ______________________________________________________________                    659,865.00
                                                                                  $_________________
                                                                                                          Market value               unknown
                                                                                                                                $____________________
                                                                                                       ______________________
61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________


                                                                                                                                    unknown
64. Other intangibles, or intellectual property
    Estate of Peter Lentini_________________________________                       $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                $   unknown
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
                     Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 10 of 55
Debtor             Microdermis Corporation
                _______________________________________________________                18-35179
                                                              Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    x
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
    x
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    x
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    x
         No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                    _______________     –   __________________________         =   $_____________________
    ______________________________________________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________

78. Total of Part 11.
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
                       Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 11 of 55
Debtor              Microdermis Corporation
                  _______________________________________________________               18-35179
                                                                Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                      28.89
                                                                                                        $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                          266.00
                                                                                                         $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                               0.00
                                                                                                         $_______________


83. Investments. Copy line 17, Part 4.                                                                      0.00
                                                                                                         $_______________


84. Inventory. Copy line 23, Part 5.                                                                        0.00
                                                                                                         $_______________


85. Farming and fishing-related assets. Copy line 33, Part 6.                                               0.00
                                                                                                         $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                             0.00
                                                                                                         $_______________
     Copy line 43, Part 7.
                                                                                                              0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________


88. Real property. Copy line 56, Part 9. . ..................................................................................... 
                                                                                                                                                    0.00
                                                                                                                                                $________________


89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $   unknown______
90. All other assets. Copy line 78, Part 11.                                                        +       0.00
                                                                                                         $_______________


91. Total. Add lines 80 through 90 for each column. ............................ 91a.
                                                                                                            294.89
                                                                                                         $_______________            +   91b.
                                                                                                                                                   0.00
                                                                                                                                                $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................        294.89
                                                                                                                                                                    $______________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                page 8
                          Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 12 of 55



                                             Microdermis Corporation Patents

US Application   Filing Date              Title             Issue Date     Patent        Ex-US            Status
   Number        (exp. base)                                              Number     Application No.

  12/630,630      2009-12-03    TRANSDERMAL COMPOSITIONS   2011-02-22    7,893,285                       Granted
                 (2003-09-22)
  12/630,690      2009-12-03    TRANSDERMAL COMPOSITIONS   2012-01-24    8,101,163                       Granted
                 (2003-09-22)
  12/758,948      2010-04-13    TRANSDERMAL COMPOSITIONS   2011-02-15    7,888,393                       Granted
                 (2003-09-22)
  13/249,915      2011-09-30    TRANSDERMAL COMPOSITIONS   2013-09-17    8,536,228                       Granted
                 (2003-09-22)
  13/867,379      2013-04-22    TRANSDERMAL COMPOSITIONS   2015-07-21    9,084,821                       Granted
                 (2003-09-22)

  13/916,882      2013-06-13     POVIDONE-IODINE TOPICAL                                                 Pending:
                 (2011-05-05)         COMPOSITION                                                        Published
                                                               N/A         N/A
                                                                                                       2014-04-03 as
                                                                                                       2014/0093583
                                                                                          Brazil          Pending
                                                               N/A         N/A       11 2010 284517

                                                            2016-07-6     53.135          Chile          Granted


                                                           2016-07-13    EP2566488    EP (Europe)        Granted
                                                                                     EP11778327.4


                                                                                      EP (Europe)         Pending
                                                                                      16179027.4        Published as
                                                               N/A         N/A
                                                                                                       EP3146972 on
                                                                                                          5/29/17
                                                                                       Hong Kong         Pending
                                                               N/A         N/A         17109826.2
                          Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 13 of 55




US Application    Filing Date                Title                Issue Date    Patent        Ex-US             Status
   Number         (exp. base)                                                  Number      Application No.
  13/664,729      2012-10-31        IMPROVED COMPOSITIONS                                                      Pending
                 (2012-10-31)                                        N/A         N/A

                                                                                               Argentina       Pending
                                                                     N/A         N/A
                                                                                             2012 01 4081
                                                                                                Brazil         Pending
                                                                     N/A         N/A
                                                                                           11 2014 010564 2
                                                                                                 Chile         Pending:
                                                                     N/A         N/A          01112-2014      Published
                                                                                                              2014-08-20
                                                                                              Costa Rica       Pending:
                                                                     N/A         N/A          2014-0186       Published
                                                                                                              2014-08-28
                                                                                              Ecuador          Pending
                                                                     N/A         N/A       IEPI-2014-2959

                                                                                                Peru           Pending:
                                                                     N/A         N/A          614-2014        Published
                                                                                                              2014-11-20

  14/683276       2015-04-10    CLOSTRIDIUM DIFFICLE SPORICIDAL   2017-04-25   9,629,875                       Granted
                 (2015-04-10)            COMPOSITIONS
                           Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 14 of 55
  Fill in this information to identify the case:

                    Microdermis Corporation
  Debtor name __________________________________________________________________
                                 Southern
  United States Bankruptcy Court for the: ______________________ District of _________    Texas
                                                                                        (State)

  Case number (If known):        18-35179
                               _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
       Biobrit LLC
     __________________________________________                     Intellectual property                                        851,652______
                                                                ___________________________________________________ $___                  ______        $_________________

    Creditor’s mailing address                                  ___________________________________________________
        2223 Avenida de la Playa, Suite 108___________________________________________________
     ________________________________________________________

        La Jolla CA 92037                 Describe the lien
     ________________________________________________________
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
        dan@biobrit.com                                            No
     _________________________________________
                                                                x
                                                                   Yes
                                      various
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                x
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
       Jeffrey Boyle
     __________________________________________                     Intellectual property                                        18,635
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
        925 H Street NW, Apt 809
     ________________________________________________________   ___________________________________________________
         Washington, DC 20001
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     jeffrey.r.boyle@us.pwc.com
     _________________________________________
                                                                x
                                                                   No
                                                                   Yes
                            9/7/2016                            Is anyone else liable on this claim?
    Date debt was incurred __________________
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    6,193,768
                                                                                                                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                        13
                                                                                                                                                           page 1 of ___
                        Case 18-35179
                     Microdermis          Document 3 Filed in TXSB on 09/28/18 Page 15 of 55
                                 Corporation
  Debtor           _______________________________________________________                    18-35179
                                                                     Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       Kimberley Burgess
     __________________________________________                     Intellectual property
                                                                ___________________________________________________              61,540
                                                                                                                                $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

          P.O. Box 2455
     ________________________________________________________
                                                                ___________________________________________________

           Granbury, TX. 76048-7455
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
           k.kahana@ymail.com
     _________________________________________
                                                                x
                                                                   No
                                                                   Yes


                                       10/12/2016
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                x
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

           Mark H. Burgon
     __________________________________________
                                                                     Intellectual property
                                                                ___________________________________________________

                                                                ___________________________________________________
                                                                                                                                   60,496
                                                                                                                   $__________________                 $_________________
    Creditor’s mailing address


          1583 Ridgeview Circle
     ________________________________________________________
                                                                ___________________________________________________

           Farmington, Utah 84025
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
      mhburgon@navpw.com                                        x
                                                                   No
     _________________________________________
                                                                   Yes

                                        various
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          2 of ___
                                                                                                                                                           page ___   13
                        Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 16 of 55
  Debtor             Microdermis Corporation
                   _______________________________________________________                18-35179
                                                                 Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

           PK Carlton III
     __________________________________________                     Intellectual property
                                                                                                                                  223,712
                                                                ___________________________________________________
                                                                                                                                $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

          10083 Pine Glade Dr
     ________________________________________________________
                                                                ___________________________________________________

         Colorado Springs, CO 80920
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
               pkcarlton@gmail.com                              x
                                                                   No
     _________________________________________
                                                                   Yes


                                       various
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


           John C. Cheronis
     __________________________________________
                                                                    Intellectual property
                                                                ___________________________________________________
                                                                                                                                   52,796
                                                                                                                                $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________


        24011 Pleasant Park Road
     ________________________________________________________
                                                                ___________________________________________________

        Conifer, CO 80433
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
      jcheronis@paradocsbiomedical.com
     _________________________________________
                                               
                                                   No
                                                x Yes
                             1/15/2016         Is anyone else liable on this claim?
    Date debt was incurred __________________
                                               x No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         3 of ___
                                                                                                                                                           page ___  13
                        Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 17 of 55
  Debtor           Microdermis Corporation
                   _______________________________________________________               18-35179
                                                                 Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       Michael R. Clark
     __________________________________________                  Intellectual property
                                                                                                                                  1,007,840
                                                                ___________________________________________________
                                                                                                                                $_______________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

       422 Bentley Manor
     ________________________________________________________
                                                                ___________________________________________________

        Shavano Park, TX, 78249
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
                                                                x
                                                                
           m.clark@swbell.net
     _________________________________________
                                                                
                                                                    No
                                                                    Yes


                                       various
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       Steven Crudup
     __________________________________________                    Intellectual property
                                                                ___________________________________________________                $124,690
                                                                                                                                $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________

                                                                ___________________________________________________
       432 West Fork Drive
     ________________________________________________________

        Arlington, TX 76012
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
           scrudup@indian-rubber.com
     _________________________________________
                                                                x
                                                                   No
                                                                   Yes

                                       8/24/2016                Is anyone else liable on this claim?
                                                                x
    Date debt was incurred __________________
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          4 of ___
                                                                                                                                                           page ___    13
                        Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 18 of 55
  Debtor             Microdermis Corporation
                   _______________________________________________________                18-35179
                                                                 Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

           Thomas E. Damuth
     __________________________________________                    Intellectual property
                                                                ___________________________________________________
                                                                                                                                  62,214
                                                                                                                                $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

          1665 Linden Place
     ________________________________________________________
                                                                ___________________________________________________

           Saginaw MI, 48638
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
            tedamuth@msn.com
     _________________________________________
                                                                x
                                                                   No
                                                                   Yes


                                       9/1/2016
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       Kevin D. Hornburg
     __________________________________________
                                                                  Intellectual property
                                                                ___________________________________________________
                                                                                                                                   24,833
                                                                                                                                $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________


         2167 Bent Creek Dr
                                                                ___________________________________________________
     ________________________________________________________

         Colorado Spring, CO 80921
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
       Kevinhornburg@mac.com
     _________________________________________
                                                                x
                                                                   No
                                                                   Yes

                                       9/9/2016
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         5 of ___
                                                                                                                                                           page ___  13
                         Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 19 of 55
  Debtor              Microdermis Corporation
                   _______________________________________________________                 18-35179
                                                                  Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       James Hosler
     __________________________________________                   Intellectual property
                                                                                                                                  754,216
                                                                ___________________________________________________
                                                                                                                                $__________________      $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

        5006 Deerwood Park Dr.
     ________________________________________________________
                                                                ___________________________________________________

         Arlington, TX 76017
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
       jim.hosler@gmail.com
     _________________________________________
                                                                
                                                                x
                                                                    No
                                                                   Yes


                                      various                   Is anyone else liable on this claim?
                                                                x
    Date debt was incurred __________________
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       Dale A. Jurcisin
     __________________________________________                     Intellectual property
                                                                ___________________________________________________
                                                                                                                                  18,669
                                                                                                                                $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________


        39733 Eagle Trace Dr.
                                                                ___________________________________________________
     ________________________________________________________

        Northville, MI 48168
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
        dajconsulting@hotmail.com
     _________________________________________
                                                                x
                                                                   No
                                                                   Yes
                                      8/31/2016
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                x
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         6 of ___
                                                                                                                                                           page ___  13
                        Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 20 of 55
  Debtor            Microdermis Corporation
                   _______________________________________________________                 18-35179
                                                                 Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

           Kenneth & Karen L. Kaylor
     __________________________________________                   Intellectual property
                                                                ___________________________________________________
                                                                                                                                  385,818
                                                                                                                                $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

       4928 Panorama Ct
     ________________________________________________________
                                                                ___________________________________________________

        Bakersfield, CA 93306
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
           klkaylor@me.com
     _________________________________________
                                                                x
                                                                   No
                                                                   Yes


                                       various                  Is anyone else liable on this claim?
    Date debt was incurred __________________
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


       Peter J. Lentini
     __________________________________________
                                                                    Intellectual property
                                                                ___________________________________________________
                                                                                                                                  41,049
                                                                                                                                $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________


         380 Carrollwood Dr.
     ________________________________________________________
                                                                ___________________________________________________

          Tarrytown, NY 10591
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
                                                                   No
     _________________________________________
                                                                x
                                                                   Yes

                                        various
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         7 of ___
                                                                                                                                                           page ___  13
                         Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 21 of 55
  Debtor              Microdermis Corporation
                   _______________________________________________________                 18-35179
                                                                  Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

           Lester Martinez - Lopez
     __________________________________________                      Intellectual property
                                                                                                                                 1,784
                                                                ___________________________________________________
                                                                                                                                $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

       2307 Delamere Ct.
     ________________________________________________________
                                                                ___________________________________________________

        Valrico, FL 33596
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
       ll2martinez@yahoo.com                                       No
     _________________________________________
                                                                x
                                                                   Yes


                                       2/15/2017                Is anyone else liable on this claim?
                                                                x
    Date debt was incurred __________________
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       Thomas M. McGinn
     __________________________________________                    Intellectual property
                                                                ___________________________________________________
                                                                                                                                  32,948
                                                                                                                                $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________


        71 Willis Drive
                                                                ___________________________________________________
     ________________________________________________________

         Ewing, NJ 08628
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
                                                                   No
     _________________________________________                  x
                                                                   Yes

                                       1/21/2016
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          8 of ___
                                                                                                                                                           page ___   13
                         Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 22 of 55
  Debtor              Microdermis Corporation
                   _______________________________________________________                 18-35179
                                                                  Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       Donald Molnar
     __________________________________________                   Intellectual property
                                                                                                                                  13,179
                                                                ___________________________________________________
                                                                                                                                $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

       2063 Heritage Parkway
     ________________________________________________________
                                                                ___________________________________________________

        Navarre, FL 32566
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
                                                                   No
     _________________________________________
                                                                x
                                                                   Yes


                                      1/21/2016
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                x
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       PK Concepts, LLC
     __________________________________________                    Intellectual property
                                                                                                                                  54,053
                                                                ___________________________________________________
                                                                                                                                $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________


        4060 Sweetwater Dr
     ________________________________________________________
                                                                ___________________________________________________

         College Station, TX 77845
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
      pkcarltonjr@gmail.com                                        No
     _________________________________________
                                                                x
                                                                   Yes

                                       various
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         9 of ___
                                                                                                                                                           page ___   13
                         Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 23 of 55
  Debtor              Microdermis Corporation
                   _______________________________________________________                 18-35179
                                                                  Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien
       David M Sweeney                                             Intellectual property
     __________________________________________                 ___________________________________________________                1,665,800
                                                                                                                                $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

       5773 Woodway, PM Box W
     ________________________________________________________
                                                                ___________________________________________________

       Houston, TX 77057
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
                                                                   No
     _________________________________________
                                                                x
                                                                   Yes


                                        various                 Is anyone else liable on this claim?
    Date debt was incurred __________________
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       Peter Whinfrey
     __________________________________________
                                                                  Intellectual property
                                                                ___________________________________________________                272,000
                                                                                                                                $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________


         200 Hawley Lane
                                                                ___________________________________________________
     ________________________________________________________

         Geneva, IL 60134
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
       peterwhinfrey@gmail.com                                  x
                                                                   No
     _________________________________________
                                                                   Yes

                                       8/2015
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                x
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         10 of ___
                                                                                                                                                           page ___   13
                             Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 24 of 55
  Debtor                   Microdermis Corporation
                   _______________________________________________________                     18-35179
                                                                      Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       Henry Rogers III
     __________________________________________                   Intellectual property
                                                                ___________________________________________________
                                                                                                                                  197,964
                                                                                                                                $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

        360 Stonehaven Dr.
     ________________________________________________________
                                                                ___________________________________________________

         Fayetteville, GA 30215-2979
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
       riddler.rogers@gmail.com
     _________________________________________
                                                                x
                                                                   No
                                                                   Yes


                                      various                   Is anyone else liable on this claim?
    Date debt was incurred __________________
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien
    Equity Trust Company Custodian
    FBO   Michael S. Shore IRA
     __________________________________________
                                                                   Intellectual property
                                                                ___________________________________________________
                                                                                                                                 37,259
                                                                                                                                $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________


       1309 Glenmeadow Lane
                                                                ___________________________________________________
     ________________________________________________________

        East Lansing, MI 48823
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
      shoreandco@yahoo.com
     _________________________________________
                                                                x
                                                                   No
                                                                   Yes
                                       9/8/2016                 Is anyone else liable on this claim?
    Date debt was incurred __________________
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         11 of ___
                                                                                                                                                           page ___   13
                         Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 25 of 55
  Debtor              Microdermis Corporation
                   _______________________________________________________                 18-35179
                                                                  Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       Bruce A. and Kay H. Stewart
     __________________________________________
                                                                  Intellectual property
                                                                ___________________________________________________
                                                                                                                                 31,982
                                                                                                                                $__________________     $_________________
                                                                ___________________________________________________
    Creditor’s mailing address

        505 Greentree Lane NE
     ________________________________________________________
                                                                ___________________________________________________

         Ada, MI 49301
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
           bstew33@gmail.com
     _________________________________________
                                                                x
                                                                   No
                                                                   Yes


                                       various                  Is anyone else liable on this claim?
                                                                x
    Date debt was incurred __________________
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

       Royalty Ventures
     __________________________________________
                                                                  Intellectual property
                                                                ___________________________________________________
                                                                                                                                  353,642
                                                                                                                                $__________________     $_________________
    Creditor’s mailing address                                  ___________________________________________________


        4801 Main Street, Suite 650
     ________________________________________________________
                                                                ___________________________________________________

        Kansas City, MO 64112
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
                                                                x
                                                                   No
     _________________________________________
                                                                   Yes
                                      10/9/2015                 Is anyone else liable on this claim?
    Date debt was incurred __________________
                                                                x
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         12 of 13
                                                                                                                                                           page ___   ___
                          Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 26 of 55
Debtor           Microdermis Corporation
                 _______________________________________________________                                                                     18-35179
                                                                                                                         Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                     On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                     did you enter the           account number
                                                                                                                                     related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                                    13 of ___
                                                                                                                                                                    page ___   13
                            Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 27 of 55
   Fill in this information to identify the case:

   Debtor         Microdermis Corporation
                    __________________________________________________________________

                                            Southern
   United States Bankruptcy Court for the: ______________________              Texas
                                                                  District of __________
                                                                                              (State)
   Case number        18-35179
                     ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    x
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
       Please see attached worksheet
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
                    Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page           18-35179
                                                                                          28 of 55
  Debtor         Microdermis Corporation
               _______________________________________________________
               Name
                                                             Case number (if known)_____________________________________


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                           $________________________________
      Please see attached worksheet
                                                                           Check all that apply.
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
                    Case 18-35179
                 Microdermis         Document 3 Filed in TXSB on 09/28/18 Page 29 of 55
                             Corporation
 Debtor        _______________________________________________________                   18-35179
                                                                Case number (if known)_____________________________________
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                       Total of claim amounts



5a. Total claims from Part 1                                                                 5a.          1,566,939.76
                                                                                                       $_____________________________




5b. Total claims from Part 2                                                                 5b.   +      12,720,916. 92
                                                                                                       $_____________________________




5c. Total of Parts 1 and 2
                                                                                             5c.          14,287,856.68
                                                                                                       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                 page __ of ___
                                             Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 30 of 55


Exhibit - Part 1 Question 2.1 Priority Unsecured



                                              Contingent, Date(s)
                                              Unliquidated  debt     Account
  Item                   Name                 or Disputed incurred     No.                 Mailing Address 1                   Mailing Address 2Hosler Note Interest
                                                                                                                                                             Total claim      Unsecured Secured
      2.1   Albert Kim                                     various             10959 Glengate Circle                   Highlands Ranch, CO 80130                 60,566.67     60,566.67         0
      2.2   California Franchise Tax Board                 various             Franchise Tax Board PO Box 942857       Sacramento, CA 94257-0531                     800.00       800.00         0
      2.3   Craig Eberhard                                 various             2820-16 Carleton St.                    San Diego, CA 92106                       73,986.45     73,986.45         0
      2.4   David M Sweeney                                various             5773 Woodway, PM Box W                  Houston, TX 77057                      2,460,257.97    949,458.12 1510799.9
      2.5   Dawn Lembo                                     various             456 Grand Ave, Apt 2a                   Leonia, NJ 07605                          90,577.69     90,577.69         0
      2.6   Donald Molnar                                  various             2063 Heritage Parkway                   Navarre Florida 32566                     70,850.70     57,671.70    13179
      2.7   Harry Corless                                  various             11 Patriots Road                        Morris Plains, NJ 07950                  297,756.84    297,756.84         0
      2.8   John C. Cheronis                               various             24011 Pleasant Park Road                Conifer, CO 80433                        263,860.77    211,065.18 52795.59
      2.9   Peter J. Lentini                               various             380 Carrollwood Drive                   Tarrytown, NY 10591                      416,382.34    375,333.34    41049
     2.10   Rebecca L. Lippincott-Gullo                    various             27 Tinton Falls Rd.                      Farmingdale, NJ 07727                    24,627.42     24,627.42         0
     2.11   Scott Hartsell                                 various             3837 Swans Landing Drive                Land O Lakes, FL. 34639                   89,286.01     89,286.01         0
     2.12   State of New Jersey                            various             Division of Employer Accounts PO Box 859Trenton, NJ 08646-8059                        296.62       296.62         0
     2.13   State of Delaware                              various                                                                                                     0.00         0.00         0
     2.14   Thomas M. McGinn                               various             71 Willis Drive                         Ewing, NJ 08628                          412,703.41    379,755.41    32948
     2.15   Vicki J. Abbas                                 various             12556 Home Farm Drive                   Westminster, CO 80234                    181,627.18    181,627.18         0
2:28 PM                                                                                                                                                                                                     Microdermis Corporation
01/19/18

                                                                                              Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 31 of 55                                                Vendor Contact List
                                                                                                                                                                                                                   January 19, 2018




Exhibit - Part 2 Question 3.1 - NONPRIORITY Unsecured Claims


                                                                 Contingent,
                                                                Unliquidated or                                                                                                                                  Total Amount
Item                          Vendor Name                          Disputed       Date debt incurred    Account No.               Mailing Address 1                               Mailing Address 2                  of claim       Unsecured      Secured
  3.1      Accuracy Inc.                                                                various                       Accuracy Inc. PO BOX 51200                 Mainland, PA 19451-0200 USA                         229,193.87      229,193.87            0
  3.2      Acupac Packaging Inc.                                                        various                       Acupac Packaging, Inc. P.O. Box 12477      Newark, NJ 07101-3577                                     969.55         969.55           0
  3.3      ADP                                                                          various                       ADP                                                                                                    0.00           0.00           0
  3.4      Advanced Anaylitcal Inc.                                                     various                       Advanced Anaylitcal Testing Laboratories Inc.
                                                                                                                                                                 North30 Brunswick,
                                                                                                                                                                         Silverline Drive
                                                                                                                                                                                       NJ 08902                         7,700.00        7,700.00           0
  3.5      Advantage Solutions                                                          various                       Advantage Solutions PO Box 31001-1691 Pasadena, CA 91110-1691 United States                      43,746.00       43,746.00           0
  3.6      Alfonso Calmell del Solar                                                    various                       Jr. Alonso de Molina 1183 Dpto 103, Monterricco Surco Lima Peru                                  35,616.50       35,616.50           0
  3.7      Andrews Kurth Kenyon LLP                                                     various                       Andrews Kurth Kenyon LLP One Broadway, 9th Floor New York, NY 10004-1007 USA                     51,928.94       51,928.94           0
  3.8      Archway Marketing Services, Inc.                                             various                       Archway Marketing Services Department 4599 Carol Stream, IL 60122-4599 USA                        9,432.04        9,432.04           0
  3.9      BioScience Laboratories, Inc.                                                various                       BioScience Laboratories, Inc. PO Box 190 Bozeman, MT 59771-0190                                  95,375.00       95,375.00           0
 3.10      Catherine Sweeney                                                            various                       Catherine Sweeney 5773 Woodway PM Box      Houston,
                                                                                                                                                                    W        TX 77057                                  23,300.00       23,300.00           0
 3.11      CFO Advisory Services                                                        various                       1755 North Collins Blvd #510               Richardson, TX 75080 USA                              51,343.79       51,343.79           0
 3.12      Charles Smith.                                                               various                       Charles Smith                                                                                     3,334.00        3,334.00           0
 3.13      Choate Hall & Stewart LLP                                                    various                       Choate Hall & Stewart LLP Two IntenationalBoston,
                                                                                                                                                                   Place MA 02110                                    169,070.95      169,070.95            0
 3.14      Corporation Service Company                                                  various                       Corporation Service Company PO Box 13397   Philadelphia, PA 19101-3397                               868.00         868.00           0
 3.15      David L. Maserang                                                            various                       David L. Maserang 109 Mariposa Bonita Cove Georgetown, TX 78633                                  28,204.15       28,204.15           0
 3.16      Delaware Business Incorporators, Inc.                                        various                       Delaware Business Incorporators, Inc. 3422Wilmington,
                                                                                                                                                                   Old Capitol DETrail
                                                                                                                                                                                     19808-6192
                                                                                                                                                                                       Suite 700                           100.00         100.00           0
 3.17      Deloitte & Touche LLP                                                        various                       Parsippany 100 Kimball Dr.                 Parsippany, NJ 07054-0319 United States               60,000.00       60,000.00           0
 3.18      Development & Strategic Consulting Assoc.                                    various                       Development & Strategic Consulting Assoc.710 Neptune Ave Encinitas, CA 92024                      2,000.00        2,000.00           0
 3.19      Douglas Robb                                                                 various                       Douglas Robb 8267 Clifton Farm Ct          Alexandria, VA 22306 USA                              11,848.00       11,848.00           0
 3.20      Dwyer Murphy Calvert                                                         various                       Dwyer Murphy Calvert 1301 West 25th Street,Austin,
                                                                                                                                                                       Suite
                                                                                                                                                                           TX 560
                                                                                                                                                                              78705                                     9,052.54        9,052.54           0
 3.21      Earle Smith                                                                  various                       Earle Smith 9607 French Walk               Helotes, TX 78023                                      3,300.00        3,300.00           0
 3.22      Edward A. Rice                                                               various                       Edward A. Rice 19827 Zephyr Cove           Garden Ridge, TX 78266                                44,255.53       44,255.53           0
 3.23      Edward Eitzen                                                                various                       Edward Eitzen 4676 Seton Hall Road         Colorado Springs, CO 80918                            12,092.97       12,092.97           0
 3.24      Federal Schedules, Inc.                                                      various                       Federal Schedules, Inc. 2325 Dulles CornerHerndon,
                                                                                                                                                                  Blvd. SuiteVA41020171                                 2,500.00        2,500.00           0
 3.25      Figari & Davenport                                                           various                       Figari & Davenport 901 Main Street, LB 125Dallas, TX 75202                                     110,172.90      110,172.90            0
 3.26      First Insurance                                                              various                       First Insurance Funding 450 Skokie Blvd. Ste
                                                                                                                                                                 Northbrook,
                                                                                                                                                                    1000         IL 60062-7917                               0.00           0.00           0
 3.27      FleishmanHillard Inc.                                                        various                       FleishmanHillard Inc. PO Box 771733        St. Louis, MO 63177                                 141,218.75      141,218.75            0
 3.28      Foley & Lardner                                                              various                       Foley & Lardner 3000 K Street, NW Suite 600Washington, DC 20007-5109 USA                         15,947.22       15,947.22           0
 3.29      GLB ABOGADOS                                                                 various                       GLB ABOGADOS                               Jiron Paramonga, 311 Torre La Encalada, Santiago de Surco,
                                                                                                                                                                                                                       62,526.54
                                                                                                                                                                                                                              Lima Peru62,526.54           0
 3.30      Grace Ministries International                                               various                       Grace Ministries International PO Box 965 Wharton, TX 77488                                       4,800.00        4,800.00           0
 3.31      Henry Ford Health System                                                     various                       Henry Ford Health System Attn: Andrew ClarkDetroit,
                                                                                                                                                                       DeptMIof48202
                                                                                                                                                                                Dermatology 3031 W. Grand Blvd, 8th Flr40,000.00       40,000.00           0
 3.32      Jan Creidenberg                                                              various                       Jan Creidenberg 6401 Sagamore Rd           Mission Hills, KS 66208                                   639.36         639.36           0
 3.33      Kathy Martin                                                                 various                       10116 Tate Court                           Oakton, VA 22124                                       6,077.38        6,077.38           0
 3.34      Korn Ferry International                                                     various                       Korn Ferry International NW 5064 PO Box 1450
                                                                                                                                                                 Minneapolis, MN 55485-5064                            77,199.00       77,199.00           0
 3.35      Krzysztof Appelt                                                             various                       Krzysztof Appelt PO Box 3183               Rancho Santa Fe, CA 92067                              2,500.00        2,500.00           0
 3.36      LaborLimbach                                                                 various                       LaborLimbach MVZ Dr. Limbach und Kollegen IM Breitspeil 15 69126 Heidelberg                       7,547.33        7,547.33           0
 3.37      Lester Martinez - Lopez                                                      various                       Lester Martinez-Lopez 2307 Delamere Ct. Valrico, FL 33596                                        38,836.66       37,052.66        1784
 3.38      MANAGSOLUT CIA LTD                                                           various                       MANAGSOLUT CIA LTD                                                                                9,744.00        9,744.00           0
 3.39      Mark J Suseck                                                                various                       34 Olden Drive                             Flemington, NJ 08822 United States                        242.55         242.55           0
 3.40      Martin Blanck & Associates, LLC                                              various                       Martin, Blanck & Associates, LLC 2034 Eisenhower
                                                                                                                                                                 Alexandria,Ave,VASuite
                                                                                                                                                                                    22314
                                                                                                                                                                                        270                            31,774.00       31,774.00           0
 3.41      Martinez Law Firm LLC                                                        various                       6003 Kestrel Point Ave.                    Lithia, FL 33547 United States                         9,515.43        9,515.43           0
 3.42      Microsoft                                                                    various                       Microsoft                                  One Microsoft Way, Redmond, WA 98052-6399 USA               0.00           0.00           0
 3.43      MJL Design                                                                   various                       MJL Design 1421 Pearl St, Unit 4           Denver, CO 80203 United States                         1,000.00        1,000.00           0
 3.44      Mulder Associates, Inc.                                                      various                       Mulder Associates, Inc. 6 Pine Heritage Dr. Newtown, PA 18940                                  133,902.48      133,902.48            0
 3.45      Patrick H Brady                                                              various                       Patrick H Brady 10419 Felsblock Lane       New Braunfels, TX 78132                                3,520.00        3,520.00           0
 3.46      Regus Management Group, LLC                                                  various                       Regus Management Group, LLC PO Box 842456  Dallas, TX 75284-2456                                       0.00           0.00           0
 3.47      Robert Trevino                                                               various                       Robert Trevino 27815 Cascabel Lane         San Antonio, TX 78260 USA                                 285.75         285.75           0
 3.48      Stephen C. Davis                                                             various                       8995 N.E. 4th Ave                          El Portal, FL 33138 United States                         410.20         410.20           0
 3.49      Steven W. Swann                                                              various                       2055 Tom Austin Hwy                        Greenbrier, TN 3703 United States                     22,063.82       22,063.82           0
 3.50      Superior Vision                                                              various                       National Guardian Life Ins. Co. PO Box 64542
                                                                                                                                                                 Baltimore, MD 21264-4542                                    0.00           0.00           0
 3.51      Systemica Consultores                                                        various                       Systemica Consultores San Antonio 378 705 - Santiago                                             24,306.00       24,306.00           0
 3.52      Tergus Pharma                                                                various                       2810 Meridian Parkway, Suite 120 DurhamDurham NC 27713 United States                                   0.00           0.00           0
 3.53      The 5Ps, LLC (Elder Granger)                                                 various                       The 5Ps, LLC Elder Granger 5176 S. LewistonCentennial,
                                                                                                                                                                    Way         CO 80015                                1,000.00        1,000.00           0
 3.54      The HelpDesk Company Inc.                                                    various                       The HelpDesk Company 4301 Dominion Blvd,   Glen Suite
                                                                                                                                                                        Allen,
                                                                                                                                                                            110VA 23060                                 1,521.25        1,521.25           0
 3.55      The Inn at Rancho Santa Fe                                                   various                       5951 Linea Del Cielo P.O. Box 869          Rancho Santa Fe, CA 92067 United States               14,081.70       14,081.70           0
 3.56      The MB Group, LLC                                                            various        5492-01        The MB Group, LLC 5072 W. Plano Parkway,   Plano,
                                                                                                                                                                    SuiteTX150
                                                                                                                                                                             75093                                         310.00         310.00           0
 3.57      The University of Iowa                                                       various                       The University of Iowa c/o Grant AccountingIowaOffice
                                                                                                                                                                        City,B5
                                                                                                                                                                              IAJessup
                                                                                                                                                                                 52242 Hall                            34,375.00       34,375.00           0
 3.58      Tom McGinnis                                                                 various                       Tom McGinnis 28340 Terrazza Lane           Naples, FL 34110-2770                                  5,445.00        5,445.00           0
 3.59      University of Miami                                                          various        666295         University of Miami Office of Research Administration
                                                                                                                                                                 Atlanta, GA PO 30384-5803
                                                                                                                                                                                    BOX 405803United States            15,463.00       15,463.00           0
 3.60      UTHSCSA-Emergency Medicine                                                   various                       Attn: Adrian Lopez Rangel 7703 Floyd Curl San
                                                                                                                                                                 Dr., Antonio,
                                                                                                                                                                       MC 7736TX 78229-3900 United States              57,808.27       57,808.27           0
 3.61      Washington University                                                        various                       Washington University Attn: James Maus 660 St. Louis,
                                                                                                                                                                      SouthMOEuclid
                                                                                                                                                                                  63110
                                                                                                                                                                                     Ave - Box 8051                    37,071.00       37,071.00           0
 3.62      Wilson Sonsini Goodrich & Rosati                                             various        40414.000      650 Page Mill Rd Palo Alto, CA 94304 UnitedPaloStates
                                                                                                                                                                       Alto, CA 94304 United States                  668,474.68      668,474.68            0
 3.66      Carlos Chuman                                                                various                       Cerros De Camacho 792 Dpto. 1203 Surco Lima, Peru                                                10,000.00       10,000.00           0
 3.67      Development & Strategic Consulting Assoc.                                    various                       710 Neptune Ave                             Encinitas, CA 92024                                   3,000.00        3,000.00           0
 3.68      Hal Hornberg                                                                 various                       8506 High Cliff Drive                      Fair Oaks Ranch, TX 78015                             40,000.00       40,000.00           0
 3.69      Ismael Seoane                                                                various                       Av. Salaverry 2047 Lince Lima, Peru                                                              10,000.00       10,000.00           0
 3.70      Rafael Jaque                                                                 various                       Calle 15 Av. 28, Manta, Ecuador                                                                  74,760.00       74,760.00           0
 3.71      Richard Wallace                                                              various                       1578 SE Ballantrae Court                   Port St. Lucie, FL 34952                              40,000.00       40,000.00           0
 3.72      Michael R. Clark                                                             various                       422 Bentley Manor                          Shavano Park, TX, 78249                           1,022,827.71        14,987.64   1007840.1
 3.73      James Hosler                                                                 various                       5006 Deerwood Park Dr.                     Arlington, TX 76017                               2,947,267.63 1,181,840.55       1765427.1
 3.74      Peter Whinfrey                                                               various                       200 Hawley Lane                            Geneva, IL 60134                                    272,000.00             0.00      272000
 3.75      Biobrit LLC                                                                  various                       2223 Avenida de la Playa, Suite 108        La Jolla CA 92037                                   911,651.74        60,000.00   851651.74
 3.76      Jeffrey Boyle                                                                various                       925 H Street NW, Apt 809                   Washington, DC 20001                                  18,635.00            0.00       18635
 3.77      Kimberley Burgess                                                            various                       P.O. Box 2455                              Granbury, TX. 76048-7455                              61,540.00            0.00       61540
 3.78      Mark H. Burgon                                                               various                       1583 Ridgeview Circle                      Farmington, Utah 84025                                60,496.00            0.00       60496
 3.79      Carlton III, PK                                                              various                       10083 Pine Glade Dr                        Colorado Springs, CO 80920                          227,090.50         3,378.50      223712
 3.80      Steven Crudup                                                                various                       432 West Fork Drive                        Arlington, TX 76012                                 124,690.00             0.00      124690
 3.81      Thomas E. Damuth                                                             various                       1665 Linden Place                          Saginaw MI, 48638                                     62,214.00            0.00       62214
 3.82      Dale A. Jurcisin                                                             various                       39733 Eagle Trace Dr.                      Northville, MI 48168                                  18,669.12            0.00    18669.12
 3.83      Kevin D. Hornburg                                                            various                       2167 Bent Creek Dr                         Colorado Spring, CO 80921                             24,833.00            0.00       24833
 3.84      Kenneth & Karen L Kaylor                                                     various                       4928 Panorama Ct                           Bakersfield, CA 93306                               386,896.00         1,078.00      385818
 3.85      PK Concepts, LLC                                                             various                       4060 Sweetwater Dr                         College Station, TX 77845                             83,305.74       29,252.74       54053
 3.86      Henry Rogers III                                                             various                       360 Stonehaven Dr.                         Fayetteville, GA 30215-2979                         197,963.64             0.00   197963.64
 3.87      Equity Trust Company Custodian FBO Michael S. Shore IRA                      various                       1309 Glenmeadow Lane                       East Lansing, MI 48823                                37,259.00            0.00       37259
 3.88      Bruce A. and Kay H. Stewart                                                  various                       505 Greentree Lane NE                      Ada, MI 49301                                         31,981.55            0.00    31981.55
 3.89      James A. Johnson, MD                                                         various                       6537 Mira Vista Lane                       San Diego, CA 92120                                 128,003.90      128,003.90            0
 3.90      Thomas J Lykos                                                               various                       5858 Westheimer Rd # 301                   Houston, TX 77057                                     21,500.00       21,500.00           0
 3.91      Royalty Ventures                                                             various                       4801 Main Street, Suite 650                Kansas City, MO 64112                               366,316.00             0.00      366316
 3.92      Lucas Martinez                                                               various                       6003 Kestrel Point Ave.                    Lithia, FL 33547                                      12,500.00       12,500.00           0
 3.93      PK Carlton Jr. (General)                                                     various                       4060 Sweetwater Dr                         College Station, TX 77845                             40,000.00       40,000.00           0
 3.94      Peter Conner                                                                 various                       8 Galleria Drive                           San Antonio, TX 78257                               127,999.99      127,999.99            0




                                                                                                                                                                                                                                                               Page 1 of 1
                       Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 32 of 55

 Fill in this information to identify the case:

                  Microdermis Corporation
 Debtor name __________________________________________________________________

                                      Southern
 United States Bankruptcy Court for the:______________________ District of     Texas
                                                                               _______
                                                                              (State)
 Case number (If known):     18-35179
                            _________________________                          7
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       x
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or        Virtual Office and mail
                                          ____________________________________
                                                                                            Regus Management Group
                                                                                           _________________________________________________________
 2.1     lease is for and the nature
                                           forwarding service
                                          ____________________________________
                                                                                             P.O. Box 842456
                                                                                           _________________________________________________________
         of the debtor’s interest
                                                                                             Dallas, Texas 75284-2456
                                                                                           _________________________________________________________
         State the term remaining           Expires April 30,2019
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or          Storage Unit
                                          ____________________________________               Security Storage and Van Company
                                                                                           _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________               5786 Sellger Drive
                                                                                           _________________________________________________________
                                                                                             Norfolk, VA 23502
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
                       Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 33 of 55
 Fill in this information to identify the case:

                 Microdermis Corporation
 Debtor name __________________________________________________________________

                                        Southern                                 Texas
 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                (State)
 Case number (If known):     18-35179
                            _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       x
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

 2.1     _____________________        ________________________________________________________             _____________________              D                   
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                         page 1 of ___
                               Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 34 of 55


 Fill in this information to identify the case:

                       Microdermis Corporation
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _


                                                        Southern
 United States Bankruptcy Court f or the: _______________________ District of ________                           Texas
                                                                                                                 (State)
 Case number (If known):               18-35179
                                      _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
           Copy line 88 from Schedule A/B .....................................................................................................................................
                                                                                                                                                                                                    0
                                                                                                                                                                                                $ ________________


     1b.   Total personal property:
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                     294.89
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................
                                                                                                                                                                                                   6,193,768
                                                                                                                                                                                                $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:                                                                                                                                           6961.92
                                                                                                                                                                                                $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
                                                                                                                                                                                     +      $
                                                                                                                                                _________ 7,117,593.49_
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................




4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                  13,318,323.40
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                    Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 35 of 55

 Fill in this information to identify the case and this filing:


                Microdermis Corporation
 Debtor Name __________________________________________________________________

                                          Southern
 United States Bankruptcy Court for the: ______________________              Texas
                                                                District of __________
                                                                            (State)
                           18-35179
 Case number (If known): _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



           Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


        X
            Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

        X
            Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        X
            Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        X
            Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        X
            Schedule H: Codebtors (Official Form 206H)

        X
            Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

            Amended Schedule ____

        X
            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


            Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    9/28/2018
        Executed on ______________                            _________________________________________________________________________
                      MM / DD / YYYY                            Signature of individual signing on behalf of debtor



                                                                 Mac Sweeney
                                                                ________________________________________________________________________
                                                                Printed name


                                                                 Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors
                      Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 36 of 55


Fill in this information to identify the case:

                 Microdermis Corporation
Debtor name __________________________________________________________________

                                           Southern
United States Bankruptcy Court for the: ______________________               Texas
                                                               District of _________
                                                                           (State)
                            18-35179
Case number (If known): _________________________                                                  ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

    x
        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

                                                                                               
           From the beginning of the
                                                01/01/2018 to              9/14/2018           x
                                                                                                   Operating a business
                                                                                                                                        0.00
           fiscal year to filing date:     From ___________
                                                  MM / DD / YYYY
                                                                                                         Pre Revenue
                                                                                                   Other _______________________    $________________


           For prior year:                 From 01/01/2017
                                                ___________ to             12/31/2017
                                                                           ___________            Operating a business
                                                                                                                                         0.00
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________

                                                01/01/2016 to              12/31/2017          
           For the year before that:       From ___________                ___________             Operating a business
                                                                                                                                         0.00
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
     x
        None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________          $________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
                           Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 37 of 55

Debtor               Microdermis Corporation
                    _______________________________________________________                                            18-35179
                                                                                               Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

              See Attached Exhibit for 4 creditors ________
             _________________________________________                         $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________
              
     3.2.

             __________________________________________         ________       $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.
               See Attached For Insiders
             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
             __________________________________________


     4.2.
                Choate Hall & Stewart LLP
             __________________________________________
                                                                09/20/2017 $__________________
                                                               _________       $14,364                     Intellectual Property related filings
                                                                                                          ___________________________________________
             Insider’s name                                     10/11/2017
                                                                                                           and maintenance
                Two International Place
             __________________________________________
             Street
                                                                10/16/2017
                                                               _________                                  ___________________________________________

             __________________________________________        _________                                  ___________________________________________
                Boston, MA 02110
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
                           Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 38 of 55

Debtor                Microdermis Corporation
                    _______________________________________________________                                                      18-35179
                                                                                                           Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
           None
            Creditor’s name and address                             Description of the property                                    Date               Value of property
     5.1.

            __________________________________________              ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________

            City                          State       ZIP Code

     5.2.

         __ __________________________________________              ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     x
           None
             Creditor’s name and address                              Description of the action creditor took                      Date action was       Amount
                                                                                                                                   taken

             __________________________________________             ___________________________________________                  _______________      $___________
             Creditor’s name
             __________________________________________             ___________________________________________
             Street
             __________________________________________
             __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
             City                          State       ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                                   Nature of case                           Court or agency’s name and address                  Status of case

     7.1.
             _________________________________            ______________________________          __________________________________________              Pending
                                                                                                  Name
                                                                                                                                                          On appeal
                                                                                                  __________________________________________
             Case number                                                                          Street                                                  Concluded
                                                                                                  __________________________________________
             _________________________________                                                    __________________________________________
                                                                                                  City                   State             ZIP Code
              

             Case title                                                                             Court or agency’s name and address
                                                                                                                                                          Pending
     7.2.
             _________________________________            ______________________________          __________________________________________              On appeal
                                                                                                  Name

             Case number                                                                          __________________________________________
                                                                                                                                                          Concluded
                                                                                                  Street
                                                                                                  __________________________________________
             _________________________________
                                                                                                  __________________________________________
                                                                                                  City                           State     ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
                            Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 39 of 55

Debtor               Microdermis Corporation
                     _______________________________________________________                                                    18-35179
                                                                                                       Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
           None
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                  State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
           None
             Recipient’s name and address                           Description of the gifts or contributions                    Dates given           Value


            __________________________________________              ___________________________________________                  _________________   $__________
     9.1.
            Recipient’s name

                                                                    ___________________________________________
            Street
            __________________________________________

            City                          State       ZIP Code


              Recipient’s relationship to debtor                   _______________________
              __________________________________________


            __________________________________________              ___________________________________________                  _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     x
           None
             Description of the property lost and how the loss      Amount of payments received for the loss                     Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                             lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).


             ___________________________________________            ___________________________________________                  _________________   $__________
             ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
                          Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 40 of 55

Debtor             Microdermis Corporation
                   _______________________________________________________                                             18-35179
                                                                                                  Case number (if known)_____________________________________
                   Name




 Part 6:       Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Diamond McCarthy LLP
            __________________________________________
   11.1.                                                      ___________________________________________                 1/18/2018
                                                                                                                         ______________         30,000
                                                                                                                                             $_________
            Address
                                                              ___________________________________________
             909 Fannin Street, 37th Floor
            __________________________________________
            Street
            __________________________________________
             Houston               TX 77010
            __________________________________________
            City                        State      ZIP Code


            Email or website address
            CRubio@diamondmccarthy.com
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________        ___________________________________________
                                                                                                                         ______________      $_________
            Address                                           ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code

            Email or website address
            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.
     x
          None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________        ___________________________________________                 ______________      $_________

            Trustee                                           ___________________________________________
            __________________________________________




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 5
                          Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 41 of 55

Debtor
                     Microdermis Corporation
                   _______________________________________________________                                              18-35179
                                                                                                  Case number (if known)_____________________________________
                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.    __________________________________________           ___________________________________________                ________________    $_________

                                                                 ___________________________________________
            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.    __________________________________________           ___________________________________________

            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                              Dates of occupancy


   14.1.
              Laboratory Space Located at:
            _______________________________________________________________________                              From       2011
                                                                                                                            ____________       To   May   2016
                                                                                                                                                    ____________
            Street
            _______________________________________________________________________
              125 Main St., Elmwood Park 07407
            _______________________________________________________________________
            City                                             State         ZIP Code


   14.2.    _______________________________________________________________________                              From        May 2016
                                                                                                                            ____________       To   Dec  2017
                                                                                                                                                     ____________
            Street
              16 Railroad Ave, Suite 3 Pearl River, NY 10965
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
                            Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 42 of 55

Debtor               Microdermis Corporation
                   _______________________________________________________                                                   18-35179
                                                                                                     Case number (if known)_____________________________________
                   Name




 Part 8:           Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?
     x
          No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ____________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ___________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:           Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     x    No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                   Does the debtor have a privacy policy about that information?
                
                      No
                      Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                      No. Go to Part 10.
                   x
                      Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan
                           Microdermis 401k Plan
                          _______________________________________________________________________                      2 ___
                                                                                                                 EIN: ___ 6 – ___
                                                                                                                               4 ___
                                                                                                                                  1 6___9___ 1___ 2___ ___
                                                                                                                                                       2
                       Has the plan been terminated?
                        No
                        Yes


Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
                          Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 43 of 55

Debtor
                    Microdermis Corporation
                   _______________________________________________________                                               18-35179
                                                                                                  Case number (if known)_____________________________________
                   Name




 Part 10:          Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

          None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

             Wells Fargo                                                                   x Checking
                                                                                                                      12/1/2017
   18.1.     ______________________________________              7 ___
                                                           XXXX–___ 7 ___
                                                                       2 ___
                                                                          9                                            ___________________        24.24
                                                                                                                                                $__________
                                                                                            Savings
            Name
            ______________________________________
              2 Washington Crossing Road
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
             Pennington           NJ
            ______________________________________
             08534
            City                  State       ZIP Code                                      Other______________

             Wells Fargo                                                                   x Checking
                                                                                                                      12/1/1017
   18.2.     ______________________________________              7 ___
                                                           XXXX–___ 7 ___
                                                                       3 ___7                                          ___________________         50.00
                                                                                                                                                $__________
            Name
                                                                                            Savings
             2 Washington Crossing Road
            ______________________________________
            Street                                                                          Money market
            ______________________________________
             Pennington NJ 08534                                                            Brokerage
            ______________________________________
            City                  State       ZIP Code                                      Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
     x
          None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________       __________________________________          __________________________________                No
            Name
                                                          __________________________________          __________________________________
                                                                                                                                                        Yes
            ______________________________________
            Street                                        __________________________________          __________________________________             
            ______________________________________
            ______________________________________         Address
                                                                                                                                                     
            City                  State       ZIP Code
                                                          ____________________________________

                                                          ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

          None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?

                                                      David and or Cathy                                Office furniture & Microdermis x Yes
                                                                                                                                          No
           Security    Storage and Van Company__________________________________
            ______________________________________                                                    _________________________________
                                                                                                                                       
           5786
            Name
                   Sellger Dr.                        Sweeney                                           documents related to relocation 
                                                   __________________________________
            ______________________________________
           Norfolk,
            Street     VA 23502                    __________________________________                 __________________________________
            ______________________________________
            ______________________________________          Address                                 _________________________________
            City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
                        Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 44 of 55

Debtor
                 Microdermis Corporation
                 _______________________________________________________                                                       18-35179
                                                                                                      Case number (if known)_____________________________________
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     x
        None

          Owner’s name and address                              Location of the property                  Description of the property                 Value

                                                                                                                                                      $_______
          ______________________________________                __________________________________        __________________________________
          Name
                                                                __________________________________        __________________________________
          ______________________________________
          Street                                                __________________________________        __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     x
        No
        Yes. Provide details below.
          Case title                                     Court or agency name and address                 Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________            __________________________________         Pending
          Case number                                    Name
                                                                                                          __________________________________
                                                                                                                                                     On appeal

          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                     Concluded
                                                                                                          __________________________________
                                                         _____________________________________                                                    
                                                         _____________________________________
                                                         City                    State     ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
    x   No
        Yes. Provide details below.

         Site name and address                           Governmental unit name and address               Environmental law, if known            Date of notice


          __________________________________             _____________________________________            __________________________________       __________
          Name                                           Name
                                                                                                          __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                           __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State      ZIP Code




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 9
                          Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 45 of 55

Debtor             Microdermis Corporation
                   _______________________________________________________                                                18-35179
                                                                                                   Case number (if known)_____________________________________
                   Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     x
          No
          Yes. Provide details below.

           Site name and address                      Governmental unit name and address               Environmental law, if known                Date of notice


            __________________________________        ______________________________________           __________________________________           __________
            Name                                      Name
                                                                                                       __________________________________
            __________________________________        ______________________________________
            Street                                    Street                                           __________________________________
            __________________________________        ______________________________________
            __________________________________        ______________________________________
            City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:            Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.
     x
          None


            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

                                                                                                                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
   25.1.    __________________________________         _____________________________________________
            Name                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code




            Business name and address                  Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                        Do not include Social Security number or ITIN.

            __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code



            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

   25.3.    __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                       _____________________________________________            Dates business existed
            __________________________________
            Street                                     _____________________________________________
            __________________________________
            __________________________________
                                                                                                                From _______         To _______
            City                  State    ZIP Code




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 10
                              Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 46 of 55

Debtor               Microdermis Corporation
                  _______________________________________________________                                               18-35179
                                                                                                   Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                  Dates of service


   26a.1.         Thomas M McGinn (Employee)                                                                    From _______      Present
                                                                                                                      07/2016 To _______
              __________________________________________________________________________________
              Name
                  71 Willis Drive
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
                  Ewing                       NJ 08628
              __________________________________________________________________________________
              City                                                  State               ZIP Code


              Name and address                                                                                  Dates of service


   26a.2.         CFO Advisors, Inc.
              __________________________________________________________________________________
                                                                                                                      01/2013 To _______
                                                                                                                From _______      4/2017
              Name

                  1755 N Collins, Suite 510
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
                  Richardson, TX 75080
              __________________________________________________________________________________
              City                                                  State               ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None
                                                                .
                     Name and address                                                                           Dates of service

                     Deloitte - Luann Makovec                                                                   From 03/2016
                                                                                                                     _______     12/2016
                                                                                                                             To _______
         26b.1.      ___________________________k__________________________________________________
                     Name
                       100 Kimball Drive
                     ______________________________________________________________________________
                     Street

                     Parsippany, NJ 07054 - 2176
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                               State               ZIP Code


                     Name and address                                                                           Dates of service

                                                                                                                From _______       To _______
         26b.2.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                               State               ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            x
                 None
                     Name and address                                                                           If any books of account and records are
                                                                                                                unavailable, explain why

                       Thomas M McGinn
         26c.1.      ______________________________________________________________________________             _________________________________________
                     Name
                       71 Willis Drive
                     ______________________________________________________________________________
                                                                                                                _________________________________________
                     Street                                                                                     _________________________________________
                     ______________________________________________________________________________
                       Ewing            NJ 08628
                     ______________________________________________________________________________
                     City                                               State               ZIP Code



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
                                Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 47 of 55

Debtor
                       Microdermis Corporation
                     _______________________________________________________                                              18-35179
                                                                                                    Case number (if known)_____________________________________
                     Name




                       Name and address                                                                         If any books of account and records are
                                                                                                                unavailable, explain why


           26c.2.      ______________________________________________________________________________           _________________________________________
                       Name
                                                                                                                _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                   _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                    None

                       Name and address


           26d.1.      James Hosler
                       ______________________________________________________________________________
                       Name
                        5006 Deerwood Park Dr
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________


                        Arlington, TX 76017
                       ______________________________________________________________________________
                       City                                             State                  ZIP Code

                       Name and address


           26d.2.       Bruce Tacket
                       ______________________________________________________________________________
                       Name
                        2893 Lakecrest Drive
                       ______________________________________________________________________________
                       Street
                            Little Elm, TX 75068
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
           No
  X
          Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                    inventory    other basis) of each inventory

               Deloitte - Luann Makovic
              ______________________________________________________________________                4/2016
                                                                                                   _______           329,000
                                                                                                                 $___________________

               Name and address of the person who has possession of inventory records


   27.1.      Thomas    McGinn
              ______________________________________________________________________
              Name
               71 Willis Drive
              ______________________________________________________________________
              Street
              ______________________________________________________________________
               Ewing             NJ 08628
              ______________________________________________________________________
              City                                                     State        ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 12
                          Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 48 of 55

Debtor
                    Microdermis Corporation
                   _______________________________________________________                                             18-35179
                                                                                               Case number (if known)_____________________________________
                   Name




            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

            ______________________________________________________________________            _______        $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name
            ______________________________________________________________________
            Street
            ______________________________________________________________________
            ______________________________________________________________________
            City                                                    State         ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

            Name                                Address                                              Position and nature of any             % of interest, if any

                                                                                                                                               >1%
                                                                                                     interest
             David M Sweeney
            ____________________________      5773  Woodway, PM Box W Houston TX 77057
                                                _____________________________________________  CEO   ____________________________            _______________

             James A Johnson
            ____________________________      7617  Seattle Drive La Mesa, CA 91941-7893
                                                _____________________________________________ Board   Director
                                                                                              ____________________________                     >1%
                                                                                                                                             _______________

             James Hosler
            ____________________________      2326  Perkins Rd Arlington, TX 76016-1026
                                                _____________________________________________ Controlling    Shareholder
                                                                                              ____________________________                    29%
                                                                                                                                             _______________

             Rafael Jaque
            ____________________________       Calle
                                                _____________________________________________
                                                                                               Board Director
                                                     15 #2217 y AV 28 Manta Manabi, Ecuador____________________________                       >1%
                                                                                                                                             _______________

            ____________________________        _____________________________________________        ____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
        No
          Yes. Identify below.

            Name                                Address                                               Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
            Dan Bradbury                    2223_____________________________________________
                                                 Avenida de la Playa # 108 La Jolla, California 92037______________________
                                                                                                      Director                                      2018
                                                                                                                                           2013 To _____
                                                                                                                                     From _____
            ____________________________
                                                                                         Director
                                                                                     Director
                    _________________ Cerros De Camacho 792 Dpto. 1203 Surco Lima, Peru
            Carlos Chuman             _____________________________________________ ______________________                                 2016 To _____
                                                                                                                                     From _____     2017
            Ismael Seoane
                   ____________________       Av. Salaverry 2047 Lince Lima, Peru
                                             _____________________________________________
                                                                                                        Director
                                                                                                      ______________________         From _____    2017
                                                                                                                                          2016 To _____
             James Hosler                     5006 Deerwood Park Dr. Arlington, TX 76017                  Director
                                                                                                                                      From___ To: 2018
 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did _____________________________________________
                                                the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
  x
         Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.       See attached worksheet
            ______________________________________________________________            _________________________           _____________       ____________
            Name
            ______________________________________________________________
            Street                                                                                                       _____________
            ______________________________________________________________
            ______________________________________________________________                                               _____________
            City                                     State          ZIP Code

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
                            Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 49 of 55

Debtor                 Microdermis Corporation
                     _______________________________________________________                                             18-35179
                                                                                                    Case number (if known)_____________________________________
                     Name




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                            State      ZIP Code


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     Y
            No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     Y
            No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:              Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on         09/28/18
                               _________________
                                MM / DD / YYYY



         8    ___________________________________________________________                             Mac Sweeney
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                  Chief Executive Officer
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         Y
             Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
                                               Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 50 of 55



Form 207 ‐ Part 2, Question 3


  Item                Creditors Name                          Street                 City        State   Zip     Total Value                  Dates                     Reason for Payment

         1   David M and Catherine Sweeney       5773 Woodway, PM Box W          Houston    TX           77057   $   44,310.40   11/27/2017   11/14/2017   12/28/2017 Secured Debt
         2   Choate Hall & Stewart LLP           Two Intenational Place          Boston     MA           02110   $    9,682.00    1/12/2018                           Suppliers or Vendor
         3   Diamond McCarthy LLP                909 Fannin Street, 37th Floor   Houston    TX           77010   $   30,000.00    1/18/2018                           Services
         4   United Healthcare, C/O Oxford HealthPO Bx 167                       Newark     NJ           07101   $    9,397.29   12/29/2017                           Supplier & Vendor
                                        Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 51 of 55


Form 207 ‐ Part 2, Question 4


Item             Creditors Name                   Street                 City               State   Zip   Total Value                Dates                     Reason for Payment

    1 David M and Catherine Sweeney   5773 Woodway, PM Box W   Houston                 TX           77057 $ 82,500.00   11/27/2017   11/14/2017   12/28/2017 Secured Debt
                                                                                                                          9/8/2017    9/15/2017    10/4/2017
                                                                                                                         2/15/2017    7/26/2017    8/28/2017

    2 Rafael Jaque                    Calle 15 #2217 y AV 28   Manta Manabi, Ecuador                      $ 22,000.00    4/25/2017     8/2/2017     9/8/2017 Services

    3 Thomas M. McGinn                71 Wills Drive           Ewing                   NJ           08628 $ 9,000.00      9/8/2017                           Services
                                              Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 52 of 55


Form 207 - Part 13, Question 30


                                                                                                                                   Reason for
Item Creditors Name               Street             City      State   Zip   Total Value                 Dates                     Payment

   1 Rafael Jaque       Calle 15 #2217 y AV 28 Manta Manabi, Ecuador         $    58,000    4/11/2017     4/5/2017    5/18/2017 Services
                                                                                             5/8/2017    3/28/2017    9/27/2017
                                                                                            3/10/2017    2/16/2017    8/17/2017
                                                                                             9/8/2017     8/2/2017    4/25/2017

     Rebecca L.
                        27 Tinton Falls Rd.
   2 Lippincott-Gullo                           Farmingdale   NJ       07727 $    59,142                              1/15/2018 Compensation
                                                                                             1/5/2018   12/31/2017   12/15/2017
                                                                                           11/30/2017   11/21/2017   11/15/2017
                                                                                           10/31/2017   10/15/2017    9/29/2017
                                                                                            9/15/2017    8/31/2017    8/16/2017
                                                                                            7/31/2017    7/14/2017     7/5/2017
                                                                                            6/19/2017     6/2/2017    5/18/2017
                                                                                             5/2/2017    4/17/2017    3/30/2017
                                                                                            3/15/2017    3/10/2017     3/3/2017
                                                                                            2/15/2017    1/31/2017    1/13/2017

     Thomas M.
   3 McGinn             71 Wills Drive          Ewing         NJ       08628 $    42,500    7/11/2017    7/18/2017    7/24/2017 Compensation
                                                                                            3/30/2017    9/29/2017    9/15/2017
                                                                                            8/25/2017     7/5/2017     9/8/2017

     David M and
     Catherine          5773 Woodway, PM                                                                                        Secured Loan
   4 Sweeney            Box W                   Houston       TX       77057 $   115,600   12/28/2017   12/13/2017   11/27/2017 Payments
                                                                                           11/14/2017   10/30/2017   10/13/2017
                                                                                            10/4/2017    9/15/2017     9/8/2017
                                                                                            8/28/2017    7/31/2017    7/26/2017
                                                                                            7/11/2017    5/24/2017    3/16/2017
                                                                                            2/21/2017    2/15/2017     2/7/2017
                                                                                            1/24/2017
                          Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 53 of 55


      Fill in this information to identify the case:

                    Microdermis Corporation
      Debtor name __________________________________________________________________
                                               Southern
      United States Bankruptcy Court for the: ______________________              Texas
                                                                     District of _________
                                                                              (State)
                                                                                                                                           Check if this is an
      Case number (If known):    18-35179
                                _________________________
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
      James Hosler                                                           Loans, board fees,                    $2,846,531.85      Unknown            Unknown
1                                                                            expense
      5006 Deerwood Park Dr.
      Arlington, TX 76017                                                    reimbursement


      David M Sweeney                                                        Loans,                                $2,405,404.23      Unknown            Unknown
2
      5773 Woodway, PM Box W                                                 compensation,
      Houston, TX 77057                                                      expense
                                                                             reimbursement

3     Biobrit LLC                                                            Loans,                                $852,988.59       Unknown             Unknown
      2223 Avenida de la Playa, Suite 108                                    compensation,
      La Jolla CA 92037                                                      expense
                                                                             reimbursement

      Michael R. Clark                                                       Loans, expense                        $841,906.28        Unknown            Unknown
4
      422 Bentley Manor                                                      reimbursement
      Shavano Park, TX, 78249


      Wilson Sonsini Goodrich & Rosati      Sandra Moreno                    Legal Fees                            $668,474.68                            Unknown
5                                                                                                                                     Unknown
      650 Page Mill Rd
      Palo Alto, CA 94304 United States

                                                                             Loans, compensaton                    $473,091.01        Unknown             Unknown
6      Thomas M. McGinn
       71 Willis Drive
       Ewing, NJ 08628

      Peter J. Lentini                                                       Loans,                                 $413,518.95       Unknown            Unknown
7
      380 Carrollwood Dr                                                     compensation,
      Tarrytown, NY 10591                                                    expense
                                                                             reimbursements

      Royalty Ventures                                                        Loans                                 $353,642.00       Unknown             Unknown
8
      4801 Main Street, Suite 650
      Kansas City, MO 64112




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
                         Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 54 of 55


    Debtor          Microdermis Corporation
                  _______________________________________________________                                                  18-35179
                                                                                                   Case number (if known)_____________________________________
                  Name




     Name of creditor and complete             Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code       email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                               contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional           unliquidated,   total claim amount and deduction for value of
                                                                             services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff

                                                                             Compensation                           $312,756.84         Unknown            Unknown
9      Harry Corless
       11 Patriots Road
       Morris Plains, NJ 07950

      John C. Cheronis                                                       Loans,                                 $260,481.05        Unknown            Unknown
10
      24011 Pleasant Park Road                                               compensation,
      Conifer, CO 80433                                                      expense
                                                                             reimbursements

11    Peter Whinfrey                                                         Loans                                  $255,101.41        Unknown            Unknown
      200 Hawley Lane
      Geneva, IL 60134


      Kenneth & Karen L Kaylor                                               Loans, expense                         $243,258.81         Unknown           Unknown
12
      4928 Panorama Ct                                                       reimbursements
      Bakersfield, CA 93306


       Accupac Inc.                                                          Vendor                                 $229,193.87         Unknown            Unknown
13
       PO BOX 51200
       Mainland, PA 19451-0200 USA

                                                                             Loans, expense                         $211,501.32        Unknown            Unknown
14     Paul K. Carlton, III
                                                                             reimbursements
       10083 Pine Glade Dr.
       Colorado Springs, CO 80290

       Henry Rogers III                                                      Loans                                  $184,022.22        Unknown            Unknown
15
       360 Stonehaven Dr.
       Fayetteville, GA 30215-2979

                                                                             Compensation,                          $181,627.18         Unknown           Unknown
16      Vicki J. Abbas
                                                                             expense
        360 Stonehaven Dr.
                                                                             reimbursements
        Fayetteville, GA 30215-2979

17      Choate Hall & Stewart LLP                                            Legal Fees                             $169,070.95         Unknown           Unknown
        Two Intenational Place
        Boston, MA 02110

                                                                             Compensation                           $141,218.75          Unknown           Unknown
18     FleishmanHillard Inc.
       PO Box 771733
       St. Louis, MO 63177

                                                                             Compensation                           $133,902.48        Unknown             Unknown
19      Mulder Associates, Inc.
        6 Pine Heritage Dr.
        Newtown, PA 18940

        James A. Johnson, MD                                                 Loans, compensation                    $128,003.90         Unknown           Unknown
20
        6537 Mira Vista Lane
        San Diego, CA 92120




    Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
         Case 18-35179 Document 3 Filed in TXSB on 09/28/18 Page 55 of 55



                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                          §
                                                §
Microdermis Corporation,                        §                Case No. 18-35179
                                                §
                  Debtor.                       §                   (Chapter 7)
                                                §

                         LIST OF EQUITY SECURITY HOLDERS

         The following is the list of equity security holders of the Debtor, Microdermis

Corporation, that directly or indirectly owns 10% or more of any class of the corporation’s equity

interests, which is prepared in accordance with FED. R. BANKR. P. 1007 and 7007.1.

  Name and Last Known                   Security Class              Percentage Ownership
     Address or Place of
Business of Equity Security
          Holder
Dr. James Hosler                       Common Stock                           29%
Dr. James Hosler                       Preferred Stock                        22%
